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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 GLAXOSMITHKLINE LLC

                          Plaintiff,
                                                                                  ORDER
                                                                           10-CV-1819 (RRM)(RER)
             - against -

 UNITED TREATMENT CENTERS, INC., TODD
 SPINNELLI, AND FRANK OTTAVIANI

                          Defendants.
 -----------------------------------------------------------X
 ROSLYNN R. MAUSKOPF, United States District Judge.

         Plaintiff GlaxoSmithKline LLC (“GSK”) settled this trademark infringement action with

 defendants United Treatment Centers, Inc., Todd Spinnelli, and Frank Ottaviani on April 6,

 2011. Pursuant to the terms of the settlement agreement, this Court maintains jurisdiction over

 the settlement agreement to enforce any violations thereof. (See Final Judgment and Permanent

 Injunction on Consent (Doc. No. 30) at ¶ 19.) Presently before the Court is GSK’s request for a

 hearing to “address Defendants’ breach of and outstanding obligations under the Settlement

 Agreement and the April 7, 2011[sic] Judgment and Order.” (Doc. No. 37 at 2.)

         The Court DENIES GSK’s request for a hearing because it is not made pursuant to any

 formal mechanism to enforce the terms of the settlement agreement. In other words, requesting a

 hearing to address the defendants’ breach is not the proper means to ask the Court to enforce the

 settlement agreement. See Fed. R. Civ. P. 69.

         GSK shall mail a copy of this Order to each defendant1 and file a letter with the Court

 confirming such mailing.



 1
  Defendants’ counsel withdrew from representing defendants on December 28, 2012. (See Doc. No. 33 and Dec.
 28, 2012 Electronic Order.) As such, defendants are now pro se. However, as to the corporate defendant, “it is
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                                                                SO ORDERED.


 Dated: Brooklyn, New York                                      Roslynn R. Mauskopf
        February 24 , 2013                                      _______________________________
                                                                ROSLYNN R. MAUSKOPF
                                                                United States District Judge




 settled law that a corporation cannot generally appear in federal court except through its lawyer.” Jacobs v. Patent
 Enforcement Fund, Inc., 230 F.3d 565, 568 (2d Cir. 2000) (citations omitted).
